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                       EXHIBIT 1
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EŽŵĂĚŝǆĚŽĞƐŶŽƚƉƌŽŵŝƐĞĂƌĞƐƉŽŶƐĞďǇƚŚĞĚĞĂĚůŝŶĞǇŽƵŚĂǀĞƵŶŝůĂƚĞƌĂůůǇƐĞƚ͘tĞǁŝůůŶŽƚƌƵƐŚŽƵƌƌĞǀŝĞǁŽĨ'ƵĞƐƚͲ
dĞŬ͛ƐƐƵƉƉůĞŵĞŶƚĂůŝŶƚĞƌƌŽŐĂƚŽƌǇƌĞƐƉŽŶƐĞƐƐŝŵƉůǇďĞĐĂƵƐĞ'ƵĞƐƚͲdĞŬĚĞŵĂŶĚƐŝƚ͘ƚƚŚĞƐĂŵĞƚŝŵĞ͕EŽŵĂĚŝǆŝƐŶŽƚ
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DĂƌŬ
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&ƌŽŵ͗ZŽĐĐŝ͕^ƚĞǀĞŶ΀ŵĂŝůƚŽ͗^ZŽĐĐŝΛďĂŬĞƌůĂǁ͘ĐŽŵ΁
^ĞŶƚ͗dŚƵƌƐĚĂǇ͕EŽǀĞŵďĞƌϭϲ͕ϮϬϭϳϴ͗ϭϬWD
dŽ͗DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵх
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ƌĞǀĞĂůƐƚŚĂƚEŽŵĂĚŝǆďĞĐŽŵĞƐĞǆƚƌĞŵĞůǇŝŵƉĂƚŝĞŶƚĂŶĚƚŚƌĞĂƚĞŶŝŶŐǁŚĞŶŝƚĚŽĞƐŶ͛ƚŐĞƚƐŽŵĞƚŚŝŶŐƚŚĂƚŝƚǁĂŶƚƐŽŶŝƚƐ
ŽǁŶƐĐŚĞĚƵůĞ͕ǁŚŝůĞ͕ŽŶƐĞǀĞƌĂůŽĐĐĂƐŝŽŶƐ͕ŝŐŶŽƌŝŶŐ͕ŽƌďĞůĂƚĞĚůǇƌĞƉůǇŝŶŐƚŽ;Ğ͘Ő͕͘ƌĞƉůǇŝŶŐŽŶůǇǁŚĞŶ'ƵĞƐƚͲdĞŬĨŽůůŽǁƐ
ƵƉƚŽͿ͕'ƵĞƐƚͲdĞŬƌĞƋƵĞƐƚƐĨŽƌŝŶĨŽƌŵĂƚŝŽŶ͕ĐŽŶĨĞƌĞŶĐĞƐŽĨĐŽƵŶƐĞů͕ĞƚĐ͘WůĞĂƐĞŚĞĞĚǇŽƵƌŽǁŶĂĚŵŽŶŝƚŝŽŶƐ͘
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zŽƵĂƐŬĞĚŽŶ&ƌŝĚĂǇǁŚĞƚŚĞƌEŽŵĂĚŝǆ͛ƐƉŽƐŝƚŝŽŶŽŶĐůĂŝŵĐŽŶƐƚƌƵĐƚŝŽŶĂŶĚƐĐŚĞĚƵůŝŶŐŚĂĚĐŚĂŶŐĞĚƐŝŶĐĞŵǇƵŐƵƐƚϮϵ
ĞͲŵĂŝů͘/ƚŽůĚǇŽƵƚŚĂƚƚŚĂƚĞͲŵĂŝůůŝŬĞůǇĐĂƉƚƵƌĞĚEŽŵĂĚŝǆ͛ƐĐƵƌƌĞŶƚƉŽƐŝƚŝŽŶ͕ďƵƚƚŚĂƚ/ǁŽƵůĚŶĞĞĚƚŽƌĞǀŝĞǁƚŚĞĞͲŵĂŝů
ĂŐĂŝŶƚŽĐŽŶĨŝƌŵ͘/ƐĂŝĚ/ǁŽƵůĚĚŽŵǇďĞƐƚƚŽŐĞƚďĂĐŬƚŽǇŽƵƚŽĚĂǇ͘zŽƵƐĂŝĚǇŽƵǁŽƵůĚĨŽůůŽǁͲƵƉƚŽĚĂǇ͘/ŶŽƚŚĞƌǁŽƌĚƐ͕
ĐŽŶƚƌĂƌǇƚŽǁŚĂƚǇŽƵƌĞͲŵĂŝůĂƉƉĞĂƌƐƚŽĂƐƐĞƌƚ͕/ĚŝĚŶŽƚĂŐƌĞĞŽŶ&ƌŝĚĂǇƚŚĂƚEŽŵĂĚŝǆ͛ƐƉŽƐŝƚŝŽŶŚĂĚŶŽƚĐŚĂŶŐĞĚƐŝŶĐĞ
ƵŐƵƐƚϮϵ;ŽƌƵŐƵƐƚϯϭ͕ĂƐǇŽƵƐƚĂƚĞŝŶǇŽƵƌĞͲŵĂŝůͿ͘
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Ɛ/ĞǆƉůĂŝŶĞĚŽŶƚŚĞƉŚŽŶĞĂŶĚǀŝĂĞͲŵĂŝů͕'ƵĞƐƚͲdĞŬ͛ƐƐƵƉƉůĞŵĞŶƚĂůŝŶƚĞƌƌŽŐĂƚŽƌǇƌĞƐƉŽŶƐĞƐĂŶĚĂŶǇƌĞǀŝƐĞĚƐĐŚĞĚƵůĞ
ƚŚĂƚ'ƵĞƐƚͲdĞŬƉƌŽƉŽƐĞƐǁŝůůŝŶĨŽƌŵEŽŵĂĚŝǆ͛ƐƵůƚŝŵĂƚĞƉŽƐŝƚŝŽŶŽŶĐůĂŝŵĐŽŶƐƚƌƵĐƚŝŽŶĂŶĚƐĐŚĞĚƵůŝŶŐ͘EŽŵĂĚŝǆƐƚŝůů
ĚŽĞƐŶŽƚŚĂǀĞ'ƵĞƐƚͲdĞŬ͛ƐƐƵƉƉůĞŵĞŶƚĂůƌĞƐƉŽŶƐĞƐŽƌĂƉƌŽƉŽƐĞĚƌĞǀŝƐĞĚƐĐŚĞĚƵůĞĨƌŽŵ'ƵĞƐƚͲdĞŬ͘hŶƚŝůEŽŵĂĚŝǆ
ƌĞĐĞŝǀĞƐƚŚĂƚŝŶĨŽƌŵĂƚŝŽŶ͕ŝƚ͛ƐĐƵƌƌĞŶƚƉŽƐŝƚŝŽŶƐŝŶĐůƵĚĞ͗
    •   EŽŵĂĚŝǆĚŽĞƐŶŽƚĂŐƌĞĞƚŽĞǆƚĞŶĚĂŶǇĐĂƐĞĚĞĂĚůŝŶĞƐ͘
    •   EŽŵĂĚŝǆĚŽĞƐŶŽƚĂŐƌĞĞƚŽĐƌĞĂƚŝŶŐƐƉĞĐŝĂůĐŽŶƚĞŶƚŝŽŶŽďůŝŐĂƚŝŽŶƐŽƌĂŶĞǁĚĞĂĚůŝŶĞĨŽƌƚŚĞŵ͘
    •   EŽŵĂĚŝǆŝƐŶŽƚŶĞĐĞƐƐĂƌŝůǇŽƉƉŽƐĞĚƚŽƐĐŚĞĚƵůŝŶŐĐůĂŝŵͲĐŽŶƐƚƌƵĐƚŝŽŶďƌŝĞĨŝŶŐŽƌĂŚĞĂƌŝŶŐ͘
    •   dŽƚŚĞĞǆƚĞŶƚĐůĂŝŵͲĐŽŶƐƚƌƵĐƚŝŽŶďƌŝĞĨŝŶŐĂŶĚĂŚĞĂƌŝŶŐĂƌĞƐĐŚĞĚƵůĞĚ͗
             o EŽŵĂĚŝǆŝƐŶŽƚŝŶĐůŝŶĞĚƚŽĐŽŶĚƵĐƚĂƐĞƉĂƌĂƚĞƚĞĐŚŶŽůŽŐǇƚƵƚŽƌŝĂů͘
             o EŽŵĂĚŝǆĚŽĞƐŶŽƚĂŐƌĞĞƚŽĂĚĞĂĚůŝŶĞĨŽƌĞǆĐŚĂŶŐŝŶŐĞǀŝĚĞŶĐĞƐƵƉƉŽƌƚŝŶŐƉƌŽƉŽƐĞĚĐůĂŝŵĐŽŶƐƚƌƵĐƚŝŽŶƐ͘
             o EŽŵĂĚŝǆŝƐŶŽƚŝŶĐůŝŶĞĚƚŽƵƐĞĂƐƉĞĐŝĂůŵĂƐƚĞƌĨŽƌĐůĂŝŵĐŽŶƐƚƌƵĐƚŝŽŶ͘
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zŽƵĞͲŵĂŝůĞĚŵĞƚŚƌĞĞƚŝŵĞƐƚŽĚĂǇŽŶƚŚŝƐƚŽƉŝĐ͘zŽƵŶĞǀĞƌŵĞŶƚŝŽŶĞĚŽŶ&ƌŝĚĂǇŶĞĞĚŝŶŐĂŶĂŶƐǁĞƌďǇŶŽŽŶƚŽĚĂǇ͖ŶŽƌ
ĐĂŶ/ĚŝƐĐĞƌŶĂŶǇƌĞĂƐŽŶǁŚǇǇŽƵŶĞĞĚĞĚĂŶĂŶƐǁĞƌďǇŶŽŽŶŽƌŶĞĞĚĞĚƚŽĞͲŵĂŝůƚŚƌĞĞƚŝŵĞƐ͘/ŶǇŽƵƌĨŝŶĂůĞͲŵĂŝů͕ǇŽƵ
ĂƐŬĞĚ͕͞DĂǇ/ƉůĞĂƐĞŚĂǀĞƚŚĞĐŽƵƌƚĞƐǇŽĨĂƌĞƉůǇ͍͟zŽƵƌƐƵŐŐĞƐƚŝŽŶƚŚĂƚ͕ďǇŶŽƚƌĞƐƉŽŶĚŝŶŐĞĂƌůŝĞƌƚŽĚĂǇ͕/ŚĂǀĞĚĞŶŝĞĚ
ǇŽƵƐŽŵĞĐŽƵƌƚĞƐǇŝƐŶŽƚǁĞůůƚĂŬĞŶ͘/ƐĂŝĚ/ǁŽƵůĚĚŽŵǇďĞƐƚƚŽŐĞƚďĂĐŬƚŽǇŽƵďǇƚŽĚĂǇ͕ĂŶĚ/ŚĂǀĞ͘
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Mark,

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                                         #:8597
Following up to our conference of counsel on Friday:

1) Nomadix has not changed its position from that summarized in its below August 31 e-mail;
2) Please advise us by noon pacific today whether Nomadix will agree to a special master for claim
construction.

Steve

&ƌŽŵ͗ZŽĐĐŝ͕^ƚĞǀĞŶ
^ĞŶƚ͗DŽŶĚĂǇ͕EŽǀĞŵďĞƌϬϲ͕ϮϬϭϳϰ͗ϮϮWD
dŽ͗DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵх
Đ͗'ƵĞƐƚͲdĞŬф'ƵĞƐƚͲdĞŬΛďĂŬĞƌůĂǁ͘ĐŽŵх͖EŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬфEŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬΛŬŶŽďďĞ͘ĐŽŵх
^ƵďũĞĐƚ͗Z͗EŽŵĂĚŝǆǀ'ƵĞƐƚͲdĞŬ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ
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Mark,

Guest-Tek intends to move the Court for a revised Scheduling Order that includes a claim construction phase
that would include the phases set forth in my below August 14, 2017 e-mail. As you are aware, this issue was
put aside while the Court ruled on Guest-Tek’s motions to dismiss the action and to compel arbitration.

Guest-Tek believes that the Scheduling Order should now be modified to adjust all dates, including extending
the trial date, to accommodate the claim construction process. Claim construction is central to Nomadix’s
claims of whether any asserted Nomadix patent covers any Guest-Tek system or service. Thus, Guest-Tek
believes that the schedule should be adjusted so that the parties may adequately address the claim construction
issues and allow sufficient time for them to be decided. In this regard, Guest-Tek submits that the parties
should agree to refer claim construction to a mutually agreed upon special master.

Please let us know Nomadix’s availability for a L.R. 37-1 conference on these issues on Tuesday, November 9
or Wednesday, November 10, at 2PM Eastern.

Steve


&ƌŽŵ͗ZŽĐĐŝ͕^ƚĞǀĞŶ
^ĞŶƚ͗dŚƵƌƐĚĂǇ͕^ĞƉƚĞŵďĞƌϬϳ͕ϮϬϭϳϲ͗ϮϯWD
dŽ͗DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵх
Đ͗'ƵĞƐƚͲdĞŬф'ƵĞƐƚͲdĞŬΛďĂŬĞƌůĂǁ͘ĐŽŵх͖EŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬфEŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬΛŬŶŽďďĞ͘ĐŽŵх
^ƵďũĞĐƚ͗ZĞ͗EŽŵĂĚŝǆǀ'ƵĞƐƚͲdĞŬ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ
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^ĞŶƚĨƌŽŵŵǇŵŽďŝůĞĚĞǀŝĐĞ͘WůĞĂƐĞĞǆĐƵƐĞĂŶǇŝŶĨŽƌŵĂůŝƚŝĞƐ͘
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KŶ^ĞƉϳ͕ϮϬϭϳ͕Ăƚϰ͗ϱϬWD͕DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵхǁƌŽƚĞ͗
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ŽŶƚŚŝƐĞͲŵĂŝů͘dŚĞŽƵƌƚĞŶƚĞƌĞĚĂŶŽƌĚĞƌƚŽĚĂǇƵŶĚĞƌƐĞĂůĂƐŽĐŬĞƚEŽ͘ϲϱ͘EĞŝƚŚĞƌƉĂƌƚǇŚĂƐďĞĞŶ
ĂďůĞƚŽĂĐĐĞƐƐƚŚĞƐĞĂůĞĚĚŽĐƵŵĞŶƚĞǀĞŶǁŚĞŶƵƐŝŶŐƚŚĞ&ĐƌĞĚĞŶƚŝĂůƐŽĨƚŚĞĂƚƚŽƌŶĞǇƐŽĨƌĞĐŽƌĚ͘dŚĞ
&ŚĞůƉĚĞƐŬŚĂƐĐŽŶĨŝƌŵĞĚƚŚĂƚƚŚĞĚŽĐƵŵĞŶƚĐĂŶŶŽƚďĞĂĐĐĞƐƐĞĚƚŚƌŽƵŐŚ&͘dŚĞƉĂƌƚŝĞƐǁŽƵůĚ
ƚŚĞƌĞĨŽƌĞďŽƚŚůŝŬĞƚŽƌĞƐƉĞĐƚĨƵůůǇƌĞƋƵĞƐƚĂŶĞůĞĐƚƌŽŶŝĐĐŽƵƌƚĞƐǇĐŽƉǇŽĨƚŚĞƐĞĂůĞĚŽƌĚĞƌ͘ŽƚŚƉĂƌƚŝĞƐ
ĐŽŶƐĞŶƚƚŽƚŚĞŽƌĚĞƌďĞŝŶŐƌĞůĞĂƐĞĚƚŽƚŚĞĂƚƚŽƌŶĞǇƐĂŶĚĚŝƐƚƌŝďƵƚŝŽŶůŝƐƚƐŝŶĐůƵĚĞĚŽŶƚŚŝƐĞͲŵĂŝů͘/ĨĂŶǇ
ŽƚŚĞƌŝŶĨŽƌŵĂƚŝŽŶǁŽƵůĚďĞŚĞůƉĨƵůŝŶĞǀĂůƵĂƚŝŶŐƚŚĞƉĂƌƚŝĞƐ͛ũŽŝŶƚƌĞƋƵĞƐƚ͕ƉůĞĂƐĞĚŽŶŽƚŚĞƐŝƚĂƚĞƚŽ
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Yes, that would be good. Thanks.
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&ƌŽŵ͗DĂƌŬ͘>ĞǌĂŵĂ΀ŵĂŝůƚŽ͗DĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵ΁
^ĞŶƚ͗dŚƵƌƐĚĂǇ͕^ĞƉƚĞŵďĞƌϬϳ͕ϮϬϭϳϮ͗ϯϱWD
dŽ͗ZŽĐĐŝ͕^ƚĞǀĞŶф^ZŽĐĐŝΛďĂŬĞƌůĂǁ͘ĐŽŵх
Đ͗'ƵĞƐƚͲdĞŬф'ƵĞƐƚͲdĞŬΛďĂŬĞƌůĂǁ͘ĐŽŵх͖EŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬфEŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬΛŬŶŽďďĞ͘ĐŽŵх
^ƵďũĞĐƚ͗Z͗EŽŵĂĚŝǆǀ'ƵĞƐƚͲdĞŬ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ
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dŚĂŶŬƐĨŽƌǇŽƵƌĞͲŵĂŝů͘tĞĂƌĞĂďůĞƚŽĂĐĐĞƐƐŽŶůǇƚŚĞƌĞĚĂĐƚĞĚĐŽƉǇĂƐǁĞůů͘dŚĞŚĞůƉĚĞƐŬŚĂƐŝŶĨŽƌŵĞĚ
ƵƐƚŚĂƚƚŚĞŽƌĚĞƌǁŝůůŶŽƚďĞĂǀĂŝůĂďůĞŽŶůŝŶĞĞǀĞŶƵƐŝŶŐƚŚĞ&ĐƌĞĚĞŶƚŝĂůƐŽĨƚŚĞĂƚƚŽƌŶĞǇƐŽĨƌĞĐŽƌĚ͘
dŚĞŚĞůƉĚĞƐŬŝŶĚŝĐĂƚĞĚƚŚĂƚŝƚĞǆƉĞĐƚĞĚƚŚĞŽƵƌƚƚŽŵĂŝůƚŚĞƉĂƌƚŝĞƐĂĐŽƉǇŽĨƚŚĞŽƌĚĞƌ͘/ĨǁĞĚŽŶ͛ƚ
ŚĞĂƌĨƌŽŵƚŚĞŽƵƌƚƐŚŽƌƚůǇ͕ǁŽƵůĚǇŽƵůŝŬĞƚŽƐĞŶĚĂũŽŝŶƚĞͲŵĂŝůƚŽƚŚĞŽƵƌƚ͛ƐĐŽƵƌƚƌŽŽŵĚĞƉƵƚǇ
ƌĞƋƵĞƐƚŝŶŐĂĐŽƵƌƚĞƐǇĞůĞĐƚƌŽŶŝĐĐŽƉǇ͍
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Mark,
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I understand that the Court has this morning issued an opinion and order denying Guest-Tek’s
motion to dismiss. However, at the moment, I have only a heavily redacted copy of the opinion. I
would like the opportunity to read and consider the unredacted opinion before we discuss claim
construction issues, so I’d like to postpone our meet and confer on that issue until next week. I
will follow up with proposed dates/times.
 
In the meantime. I am cancelling today’s meet and confer.
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Steve
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&ƌŽŵ͗ZŽĐĐŝ͕^ƚĞǀĞŶ
^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕^ĞƉƚĞŵďĞƌϬϲ͕ϮϬϭϳϵ͗ϯϱD
dŽ͗DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵх
Đ͗'ƵĞƐƚͲdĞŬф'ƵĞƐƚͲdĞŬΛďĂŬĞƌůĂǁ͘ĐŽŵх͖EŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬфEŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬΛŬŶŽďďĞ͘ĐŽŵх
^ƵďũĞĐƚ͗ZĞ͗EŽŵĂĚŝǆǀ'ƵĞƐƚͲdĞŬ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ
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/ǁŝůůƌĞĨƌĂŝŶĨƌŽŵĂĚĚƌĞƐƐŝŶŐǇŽƵƌ;ĚŝƐŝŶŐĞŶƵŽƵƐĂŶĚƵŶƉƌŽĚƵĐƚŝǀĞͿƉĂƐƐŝŶŐĐŽŵŵĞŶƚƐ͘
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KŶ^ĞƉϲ͕ϮϬϭϳ͕Ăƚϭ͗ϱϴD͕DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵхǁƌŽƚĞ͗

         ^ƚĞǀĞ͕
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         /ĐĂŶďĞĂǀĂŝůĂďůĞĂƚϭϭ͗ϯϬĂ͘ŵ͘Žƌϭ͗ϰϱƉ͘ŵ͘WĂĐŝĨŝĐŽŶdŚƵƌƐĚĂǇ͘/ĨĞŝƚŚĞƌƚŝŵĞǁŽƌŬƐĨŽƌ
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      tŚĞŶƉŽƐƐŝďůĞ͕ǁĞǁŝůůĞŶĚĞĂǀŽƌŝŶŐŽŽĚĨĂŝƚŚƚŽĂĐĐŽŵŵŽĚĂƚĞǇŽƵƌƐĐŚĞĚƵůĞ͘ƵƚƚŚŝƐ
      ĐĂƐĞŝƐƉĞŶĚŝŶŐŝŶƚŚĞĞŶƚƌĂůŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ͖ϰ͗ϯϬƉ͘ŵ͘WĂĐŝĨŝĐŝƐƚŚĞƌĞĨŽƌĞĂ
      ƉĞƌĨĞĐƚůǇƌĞĂƐŽŶĂďůĞƚŝŵĞĨŽƌĂĐŽŶĨĞƌĞŶĐĞŽĨĐŽƵŶƐĞů͘'ƵĞƐƚͲdĞŬŚĂƐĨŽƵƌĂƚƚŽƌŶĞǇƐŽĨ
      ƌĞĐŽƌĚŽŶƚŚĞǁĞƐƚĐŽĂƐƚ͕ĂƚůĞĂƐƚƚǁŽŽĨǁŚŽŵĂƌĞƐĞĂƐŽŶĞĚĂƚƚŽƌŶĞǇƐǁŚŽŚĂǀĞ
      ŚĂŶĚůĞĚŽƚŚĞƌĐŽŶĨĞƌĞŶĐĞƐŽĨĐŽƵŶƐĞůŝŶƚŚŝƐĐĂƐĞ͘EŽŵĂĚŝǆŵĂĚĞŝƚƐĞůĨĂǀĂŝůĂďůĞŽŶĐĞ
      ĂůƌĞĂĚǇĨŽƌĂĐŽŶĨĞƌĞŶĐĞŽŶƚŚŝƐŝƐƐƵĞ͕ĂŶĚŝƚĚŝĚƐŽĂŐĂŝŶƚŽĚĂǇŽŶƚǁŽďƵƐŝŶĞƐƐĚĂǇƐ͛
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      DĂƌŬ
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      &ƌŽŵ͗ZŽĐĐŝ͕^ƚĞǀĞŶ΀ŵĂŝůƚŽ͗^ZŽĐĐŝΛďĂŬĞƌůĂǁ͘ĐŽŵ΁
      ^ĞŶƚ͗dƵĞƐĚĂǇ͕^ĞƉƚĞŵďĞƌϱ͕ϮϬϭϳϭϮ͗ϱϱWD
      dŽ͗DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵх
      Đ͗'ƵĞƐƚͲdĞŬф'ƵĞƐƚͲdĞŬΛďĂŬĞƌůĂǁ͘ĐŽŵх͖EŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬфEŽŵĂĚŝǆ͘'ƵĞƐƚͲ
      dĞŬΛŬŶŽďďĞ͘ĐŽŵх
      ^ƵďũĞĐƚ͗Z͗EŽŵĂĚŝǆǀ'ƵĞƐƚͲdĞŬ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ
      
      Mark,
       
      That time does not work for me. Can we agree to a time that is within normal
      business hours for both of us, or should I propose 9 AM eastern tomorrow?
          
      Steve
          
      &ƌŽŵ͗DĂƌŬ͘>ĞǌĂŵĂ΀ŵĂŝůƚŽ͗DĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵ΁
      ^ĞŶƚ͗dƵĞƐĚĂǇ͕^ĞƉƚĞŵďĞƌϬϱ͕ϮϬϭϳϯ͗ϯϬWD
      dŽ͗ZŽĐĐŝ͕^ƚĞǀĞŶф^ZŽĐĐŝΛďĂŬĞƌůĂǁ͘ĐŽŵх
      Đ͗'ƵĞƐƚͲdĞŬф'ƵĞƐƚͲdĞŬΛďĂŬĞƌůĂǁ͘ĐŽŵх͖EŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬфEŽŵĂĚŝǆ͘'ƵĞƐƚͲ
      dĞŬΛŬŶŽďďĞ͘ĐŽŵх
      ^ƵďũĞĐƚ͗Z͗EŽŵĂĚŝǆǀ'ƵĞƐƚͲdĞŬ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ
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      /ĂŵĂǀĂŝůĂďůĞĂƚϰ͗ϯϬWĂĐŝĨŝĐƚŽĚĂǇ͘WůĞĂƐĞůĞƚŵĞŬŶŽǁŝĨǇŽƵ͛ĚůŝŬĞƚŽƚĂůŬƚŚĞŶ͘
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      Mark,
       
      Please let me know your availability to discuss this today.
       
      Regards,
       
      Steve
       
      &ƌŽŵ͗ZŽĐĐŝ͕^ƚĞǀĞŶ
      ^ĞŶƚ͗dŚƵƌƐĚĂǇ͕ƵŐƵƐƚϯϭ͕ϮϬϭϳϰ͗ϬϯWD
      dŽ͗DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵх
      Đ͗'ƵĞƐƚͲdĞŬф'ƵĞƐƚͲdĞŬΛďĂŬĞƌůĂǁ͘ĐŽŵх͖EŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬфEŽŵĂĚŝǆ͘'ƵĞƐƚͲ
      dĞŬΛŬŶŽďďĞ͘ĐŽŵх
      ^ƵďũĞĐƚ͗ZĞ͗EŽŵĂĚŝǆǀ'ƵĞƐƚͲdĞŬ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ
      
      DĂƌŬ͕
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      WůĞĂƐĞůĞƚŵĞŬŶŽǁŝĨǇŽƵĂƌĞĂǀĂŝůĂďůĞĨŽƌĂŵĞĞƚĂŶĚĐŽŶĨĞƌŽŶƚŚŝƐŝƐƐƵĞƚŽŵŽƌƌŽǁ
      ;&ƌŝĚĂǇ͕^ĞƉƚĞŵďĞƌϭͿĂƚϮWDĂƐƚĞƌŶ͘/ĨƚŚĂƚƚŝŵĞĚŽĞƐŶŽƚǁŽƌŬĨŽƌǇŽƵ͕ƉůĞĂƐĞ
      ƐƵŐŐĞƐƚĂŶŽƚŚĞƌƚŝŵĞƚŽŵŽƌƌŽǁŽƌdƵĞƐĚĂǇ;^ĞƉƚĞŵďĞƌϱͿĂƚƚŚĞůĂƚĞƐƚ͘tĞŝŶƚĞŶĚƚŽ
      ĨŝůĞĂŵŽƚŝŽŶŽŶƚŚŝƐŝƐƐƵĞƚŽƚŚĞĞǆƚĞŶƚƚŚĂƚǁĞĂƌĞƵŶĂďůĞƚŽƌĞĂĐŚĂŐƌĞĞŵĞŶƚƚŚƌŽƵŐŚ
      ĂŵĞĞƚĂŶĚĐŽŶĨĞƌ͘
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      ZĞŐĂƌĚƐ͕
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      ^ƚĞǀĞ
      
      ^ĞŶƚĨƌŽŵŵǇŵŽďŝůĞĚĞǀŝĐĞ͘WůĞĂƐĞĞǆĐƵƐĞĂŶǇŝŶĨŽƌŵĂůŝƚŝĞƐ͘
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      KŶƵŐϮϵ͕ϮϬϭϳ͕Ăƚϯ͗ϯϯD͕DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵхǁƌŽƚĞ͗

               ^ƚĞǀĞ͕
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               'ƵĞƐƚͲdĞŬ͛ƐƵŐƵƐƚϮϯƌĞƐƉŽŶƐĞŽŶƐŽƵƌĐĞĐŽĚĞǁĂƐŝŶĂĚĞƋƵĂƚĞĨŽƌ
               ƌĞĂƐŽŶƐ/ĞǆƉůĂŝŶĞĚǇĞƐƚĞƌĚĂǇ͘dŚĞƐĐŽƉĞĂŶĚƚŝŵŝŶŐŽĨ'ƵĞƐƚͲdĞŬ͛Ɛ
               ƉƌŽĚƵĐƚŝŽŶŽĨƐŽƵƌĐĞĐŽĚĞďĞĂƌŽŶĂƚůĞĂƐƚƉŽŝŶƚϭŽĨ'ƵĞƐƚͲdĞŬ͛Ɛ
               ƉƌŽƉŽƐĂů͘
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                                                                                                 EXHIBIT 1
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                                 #:8602
           Ɛ/ŚĂǀĞƉƌĞǀŝŽƵƐůǇŝŶĚŝĐĂƚĞĚ͕EŽŵĂĚŝǆŝƐŽƉĞŶƚŽũŽŝŶƚůǇĂƉƉƌŽĂĐŚŝŶŐ
           ƚŚĞŽƵƌƚƌĞŐĂƌĚŝŶŐĐůĂŝŵĐŽŶƐƚƌƵĐƚŝŽŶ͕ďƵƚǁĞĚŽŶŽƚĂŐƌĞĞǁŝƚŚ
           ǀĂƌŝŽƵƐĂƐƉĞĐƚƐŽĨ'ƵĞƐƚͲdĞŬ͛ƐƉƌŽƉŽƐĂů͗
               •   EŽŵĂĚŝǆĚŽĞƐŶŽƚĂŐƌĞĞƚŽĐƌĞĂƚŝŶŐƐƉĞĐŝĂůĐŽŶƚĞŶƚŝŽŶ
                   ŽďůŝŐĂƚŝŽŶƐŽƌĂŶĞǁĚĞĂĚůŝŶĞĨŽƌƚŚĞŵ͘'ƵĞƐƚͲdĞŬŝƐĨƌĞĞƚŽ
                   ƉƵƌƐƵĞĐŽŶƚĞŶƚŝŽŶŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐ͕ďƵƚEŽŵĂĚŝǆĚŽĞƐŶŽƚĂŐƌĞĞ
                   ƚŽĂŶǇĚŝƐĐŽǀĞƌǇŽďůŝŐĂƚŝŽŶƐďĞǇŽŶĚǁŚĂƚƚŚĞ&ĞĚĞƌĂůZƵůĞƐ
                   ƌĞƋƵŝƌĞ͘EŽŵĂĚŝǆĚŽĞƐŶŽƚĂŐƌĞĞƚŽĂŶǇĂĚĚŝƚŝŽŶĂůĚĞĂĚůŝŶĞƐĨŽƌ
                   ŝƚƐĐŽŶƚĞŶƚŝŽŶƐďĞǇŽŶĚƚŚĞĚŝƐĐŽǀĞƌǇĐƵƚŽĨĨƐƚŚĞŽƵƌƚŚĂƐ
                   ŝŵƉŽƐĞĚ͘EŽŵĂĚŝǆĐĞƌƚĂŝŶůǇĐĂŶŶŽƚĂŐƌĞĞĂƚƚŚŝƐƐƚĂŐĞƚŽƌĞůǇ
                   ŽŶŽŶůǇĨŝǀĞƉĂƚĞŶƚĐůĂŝŵƐƚŽƚĂů͖'ƵĞƐƚͲdĞŬŚĂƐǇĞƚƚŽƉƌŽĚƵĐĞ
                   ƚŚĞǀĂƐƚŵĂũŽƌŝƚǇŽĨƚŚĞƐŽƵƌĐĞĐŽĚĞŝƚŚĂƐƉƌŽŵŝƐĞĚƚŽƉƌŽĚƵĐĞ͕
                   'ƵĞƐƚͲdĞŬŚĂƐĚĞĐůŝŶĞĚƚŽĚŝƐĐƵƐƐƌĞƉƌĞƐĞŶƚĂƚŝǀĞǀĞƌƐŝŽŶƐŽĨ
                   ƐŽƵƌĐĞĐŽĚĞ͕ĂŶĚEŽŵĂĚŝǆĚŽĞƐŶŽƚǇĞƚŬŶŽǁƚŚĞĞǆƚĞŶƚƚŽ
                   ǁŚŝĐŚ'ƵĞƐƚͲdĞŬǁŝůůĚŝƐƉƵƚĞEŽŵĂĚŝǆ͛ƐĐŽŶƚĞŶƚŝŽŶƐŽƌŝƚƐ
                   ŐƌŽƵŶĚƐƚŚĞƌĞĨŽƌ͘
               •   EŽŵĂĚŝǆŝƐĨŝŶĞǁŝƚŚƐĐŚĞĚƵůŝŶŐĐůĂŝŵͲĐŽŶƐƚƌƵĐƚŝŽŶďƌŝĞĨŝŶŐĂŶĚ
                   ĂŚĞĂƌŝŶŐ͘tŝƚŚŽƉĞŶŝŶŐĞǆƉĞƌƚƌĞƉŽƌƚƐĚƵĞĂƚƚŚĞĞŶĚŽĨ:ƵŶĞ
                   ϮϬϭϴ͕ŝƚůŝŬĞůǇŵĂŬĞƐŵŽƌĞƐĞŶƐĞƚŽŚŽůĚƚŚĞŚĞĂƌŝŶŐĞĂƌůŝĞƌƚŚĂŶ
                   'ƵĞƐƚͲdĞŬŚĂƐƉƌŽƉŽƐĞĚ͘dŚĞƌŽƵŐŚƚŝŵĞůŝŶĞǁĞƐƵŐŐĞƐƚŝƐĞĂƌůǇ
                   DĂƌĐŚĨŽƌƚŚĞŚĞĂƌŝŶŐ͕ǁŝƚŚŽƉĞŶŝŶŐďƌŝĞĨƐŝŶůĂƚĞ:ĂŶƵĂƌǇĂŶĚ
                   ƌĞƐƉŽŶƐŝǀĞďƌŝĞĨƐŝŶŵŝĚͲ&ĞďƌƵĂƌǇ͘
               •   EŽŵĂĚŝǆŝƐŶŽƚŽƉƉŽƐĞĚƚŽĞǀĞŶƚƵĂůůǇƐĞƚƚŝŶŐĂŶŝŶŝƚŝĂůĚĞĂĚůŝŶĞ
                   ĨŽƌĞǆĐŚĂŶŐŝŶŐƉƌŽƉŽƐĞĚĐŽŶƐƚƌƵĐƚŝŽŶƐŽĨƚĞƌŵƐƚŽďĞ
                   ĂĚĚƌĞƐƐĞĚĂƚƚŚĞŚĞĂƌŝŶŐ͖ďƵƚ/͛ŵŶŽƚƐƵƌĞǁĞŶĞĞĚƚŽƐĞƚĂ
                   ĚĞĂĚůŝŶĞŶŽǁ͘ĨƚĞƌƚŚĞƉĂƌƚŝĞƐĞǆĐŚĂŶŐĞƐŽŵĞŵŽƌĞĚŝƐĐŽǀĞƌǇ͕
                   ƚŚĞǇǁŝůůďĞŝŶĂďĞƚƚĞƌƉŽƐŝƚŝŽŶƚŽĂƐƐĞƐƐƚŚĞůŝŬĞůǇĚŝƐƉƵƚĞƐĂŶĚ
                   ĨŝŐƵƌĞŽƵƚĂŶĂƉƉƌŽƉƌŝĂƚĞƐĐŚĞĚƵůĞĨŽƌĞǆĐŚĂŶŐŝŶŐĐŽŶƐƚƌƵĐƚŝŽŶƐ
                   ĂŶĚĐŽŶĨĞƌƌŝŶŐŽŶƚŚĞƐĐŽƉĞŽĨƚŚĞĐŽŶƐƚƌƵĐƚŝŽŶĚŝƐƉƵƚĞƐ͘
               •   ƚƚŚŝƐũƵŶĐƚƵƌĞ͕EŽŵĂĚŝǆŝƐŶŽƚŝŶĐůŝŶĞĚƚŽĐŽŶĚƵĐƚĂƚƵƚŽƌŝĂů͘
               •   EŽŵĂĚŝǆĚŽĞƐŶŽƚĂŐƌĞĞƚŽĂĚĞĂĚůŝŶĞĨŽƌĞǆĐŚĂŶŐŝŶŐĞǀŝĚĞŶĐĞ
                   ƐƵƉƉŽƌƚŝŶŐƉƌŽƉŽƐĞĚĐůĂŝŵĐŽŶƐƚƌƵĐƚŝŽŶƐ͘EŽƌĚŽǁĞƚŚŝŶŬƚŚĞ
                   ƉĂƌƚŝĞƐŶĞĞĚƚŽĞǆĐŚĂŶŐĞĨŽƌŵĂůĐůĂŝŵͲĐŽŶƐƚƌƵĐƚŝŽŶĐŽŶƚĞŶƚŝŽŶƐ
                   ŽƌƐƵďŵŝƚĂũŽŝŶƚƐƚĂƚĞŵĞŶƚĂƐƚŚĞEŽƌƚŚĞƌŶŝƐƚƌŝĐƚƌƵůĞƐ
                   ĐŽŶƚĞŵƉůĂƚĞ͘
               •   dŽƚŚĞĞǆƚĞŶƚ'ƵĞƐƚͲdĞŬƐĞĞŬƐĂĐůĂŝŵͲĐŽŶƐƚƌƵĐƚŝŽŶƉƌŽĐĞƐƐ
                   ŵŽƌĞŝŶůŝŶĞǁŝƚŚǁŚĂƚƚŚĞEŽƌƚŚĞƌŶŝƐƚƌŝĐƚƌƵůĞƐĐŽŶƚĞŵƉůĂƚĞ
                   ƚŚĂŶǁŚĂƚEŽŵĂĚŝǆǁŝůůĂŐƌĞĞƚŽ͕EŽŵĂĚŝǆŵĂǇĂƌŐƵĞƚŚĂƚ
                   ďƌŝĞĨŝŶŐƐŚŽƵůĚĂůƐŽďĞĐŽŶĚƵĐƚĞĚĂƐĐŽŶƚĞŵƉůĂƚĞĚŝŶƚŚŽƐĞ
                   ƌƵůĞƐ͕ǁŝƚŚEŽŵĂĚŝǆĨŝůŝŶŐĂŶŽƉĞŶŝŶŐďƌŝĞĨ͕'ƵĞƐƚͲdĞŬĨŝůŝŶŐĂ
                   ƌĞƐƉŽŶƐŝǀĞďƌŝĞĨ͕ĂŶĚEŽŵĂĚŝǆƚŚĞŶĨŝůŝŶŐĂƌĞƉůǇ͘
           
           tĞůŽŽŬĨŽƌǁĂƌĚƚŽŚĞĂƌŝŶŐǇŽƵƌƚŚŽƵŐŚƚƐ͘
           
           ĞƐƚƌĞŐĂƌĚƐ͕
           
           DĂƌŬ
           
           Mark Lezama

                                                
                                                                                          EXHIBIT 1
Case 2:16-cv-08033-AB-FFM Document 267-1 Filed 04/06/18 Page 10 of 15 Page ID
                                  #:8603
            Partner
            mark.lezama@knobbe.com
            949-721-5362 Direct
            Knobbe Martens
            2040 Main St., 14th Fl.
            Irvine, CA 92614
            www.knobbe.com/mark-lezama


            
            &ƌŽŵ͗ZŽĐĐŝ͕^ƚĞǀĞŶ΀ŵĂŝůƚŽ͗^ZŽĐĐŝΛďĂŬĞƌůĂǁ͘ĐŽŵ΁
            ^ĞŶƚ͗DŽŶĚĂǇ͕ƵŐƵƐƚϮϴ͕ϮϬϭϳϲ͗ϱϴD
            dŽ͗DĂƌŬ͘>ĞǌĂŵĂфDĂƌŬ͘>ĞǌĂŵĂΛŬŶŽďďĞ͘ĐŽŵх
            Đ͗EŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬфEŽŵĂĚŝǆ͘'ƵĞƐƚͲdĞŬΛŬŶŽďďĞ͘ĐŽŵх͖'ƵĞƐƚͲdĞŬ
            ф'ƵĞƐƚͲdĞŬΛďĂŬĞƌůĂǁ͘ĐŽŵх
            ^ƵďũĞĐƚ͗Z͗EŽŵĂĚŝǆǀ'ƵĞƐƚͲdĞŬ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ
            
            Mark,
             
            May I please have the courtesy of a reply to my below August 14
            e-mail? 
                
            Despite the absence of any connection (as implied by your silence)
            between your August 3 discovery related letter and our August 14
            e-mail regarding claim construction, we note that you have had our
            response to your August 3 letter since last Wednesday. You still
            have not responded.
                
            If we need to take this matter up with the Court alone, we will note
            our unsuccessful attempts to engage Nomadix in approaching the
            Court jointly.
                
            Regards,
                
            Steve
                
                
                
            )URP5RFFL6WHYHQ
            6HQW7XHVGD\$XJXVW$0
            7R
0DUN/H]DPD

            &F1RPDGL[*XHVW7HN*XHVW7HN
            6XEMHFW5(1RPDGL[Y*XHVW7HN6FKHGXOLQJ2UGHU
            
            Mark,
                
            Can you let me know what you believe the connection is between
            your discovery related letter and our e-mail re: claim construction
            scheduling?
                
            We have been investigating the issues you raised in your August 3
            letter. You will receive a response soon.
                
            Steve
                                             
                                                                                   EXHIBIT 1
Case 2:16-cv-08033-AB-FFM Document 267-1 Filed 04/06/18 Page 11 of 15 Page ID
                                  #:8604
             
            )URP0DUN/H]DPD>PDLOWR0DUN/H]DPD#NQREEHFRP@
            6HQW0RQGD\$XJXVW30
            7R5RFFL6WHYHQ*XHVW7HN
            &F1RPDGL[*XHVW7HN
            6XEMHFW5(1RPDGL[Y*XHVW7HN6FKHGXOLQJ2UGHU
            
            ^ƚĞǀĞ͕
            
            /ƚŚŝŶŬǁĞĐĂŶďĂĐŬƚŽǇŽƵůĂƚĞƌƚŚŝƐǁĞĞŬ͕ďƵƚŝƚǁŽƵůĚŚĞůƉŝĨ'ƵĞƐƚͲdĞŬ
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            ĐŽĚĞĂŶĚƌĞůĂƚĞĚŵĂƚĞƌŝĂůƐĂŶĚŝŶĨŽƌŵEŽŵĂĚŝǆǁŚĞŶŝƚƉůĂŶƐƚŽ
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                    Mark:
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                    I am following up to the below e-mail, which we
                    briefly discussed during our meet and confer on
                    August 2.
                     
                    I propose that we notify the Court that there are no
                    provisions for claim construction in the June 16,
                                                
                                                                                          EXHIBIT 1
Case 2:16-cv-08033-AB-FFM Document 267-1 Filed 04/06/18 Page 12 of 15 Page ID
                                         #:8605
                   2017 Order re Deadlines, etc., and that we suggest
                   the following modification to the Order:
                   
                  The addition of a claim construction phase,
                  beginning on January 15, 2018 and concluding by
                  mid-May, 2018, that includes:
                   
                       ϭͿ A final identification of the claims that
                            Nomadix asserts cover the Guest-Tek
                            products and services (not to exceed five
                            claims) and Nomadix’s final detailed
                            contentions as to how each asserted claim
                            covers the Guest-Tek products and services,
                            by November 15, 2017;
                       ϮͿ   An exchange of disputed claim terms by
                            January 15, 2018;
                       ϯͿ   An exchange of proposed constructions for
                            the disputed claim terms, and supporting
                            evidence, by February 15, 2018;
                       ϰͿ   A meet and confer re the disputed claim
                            terms and proposed constructions by March
                            1, 2018; 
                       ϱͿ   Simultaneous exchange of opening claim
                            construction briefs by April 2, 2018;
                       ϲͿ   Simultaneous exchange of rebuttal briefs by
                            April 23, 2018; and,
                       ϳͿ   Tutorial and claim construction hearing by
                            mid-May, 2018.
                   
                  Regards,
                   
                  Steve
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                  Mark,
                   
                  In paragraph R.1 of the parties’ Rule 26(f) report,
                  Nomadix agreed with Guest-Tek that this matter
                  will involve claim construction issues: 
                   
                            Nomadix acknowledges that this case may
                            involve some issues of patent claim
                            construction and that special claim-construction
                            briefing by the parties and a claim-construction
                            order from the Court may be helpful. Nomadix
                            is not opposed to adding dates to the case
                                               
                                                                               EXHIBIT 1
Case 2:16-cv-08033-AB-FFM Document 267-1 Filed 04/06/18 Page 13 of 15 Page ID
                                  #:8606
                           schedule for claim-construction briefing and a
                           claim-
                           construction hearing. But Nomadix believes
                             that Guest-Tek’s suggestion of adopting
                           Section 4 of the Patent Local Rules of the
                           Northern District of California in its entirety—
                           and Rules 4-1 through 4-4 in particular—will
                           make the case unnecessarily complicated and
                           expensive. Nomadix would not oppose adopting
                           the gist of Patent Local Rules 4-5 through 4-7.
                           But in Nomadix’s counsel’s experience, Rules
                           4-1 through 4-4 significantly increase costs and
                           tend to multiply the disputed issues rather than
                           reduce them. The parties can narrow the list of
                           disputed claim terms more quickly and cost-
                           effectively through the type of routine
                           conferences of counsel that Central District
                           Local Rule 7-3 requires in connection with
                           motions. Nomadix notes that both parties are
                           considering summary-judgment motions
                           regarding whether Guest-Tek’s devices include
                           Nomadix’s patented technology; these
                           summary-judgment motions will likely be an
                           efficient vehicle for focusing on the claim-
                           construction issues that are truly in dispute.
                            
                  However, we note that the Court’s June 16 case
                  schedule (attached) does not include any claim
                  construction provisions/schedule. We believe that,
                  since the parties agreed in principle on the inclusion
                  of at least some of the provisions of the ND CA
                  Patent Local Rule 4, the omission of any claim
                  construction process/schedule in the order was an
                  oversight by the Court. Please let me know if
                  Nomadix will join Guest-Tek in a joint motion to
                  amend the schedule to include these provisions. If
                  so, I suggest that we discuss areas of agreement and
                  disagreement on our proposals so that the issues can
                  be narrowed for the Court. Please let me know your
                  availability for a call to discuss this matter
                  sometime this week.
                  
                  Regards,
                  
                  Steve
                  
                  
                  Steven J. Rocci
                  Partner                                  
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                  <image001.jpg>
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                                                                              EXHIBIT 1
Case 2:16-cv-08033-AB-FFM Document 267-1 Filed 04/06/18 Page 14 of 15 Page ID
                                  #:8607
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                       Philadelphia, PA 19104-2891
                       T +1.215.564.8364

                       srocci@bakerlaw.com
                       bakerlaw.com 
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